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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

ENZOLYTICS, INC, )
)
Plaintiff. )
) C.A. No.: 1:21-cv-01599-RGA
Vv. )
)
CIMARRON CAPITAL, LTD., )
Defendant
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| pec 01 203 ||
Dio tmi F COURT
ENZOLYTICS, INC, ) DISTRICT OF DELAWARE
)
Plaintiff, )
) C.A. No.: 1:21-cv-01600-RGA
v. )
)
KONA CONCEPTS, INC., )
)
Defendant. )
)

DEFENDANTS’ MOTION FOR EXTENSION OF TIME
Defendants CIMARRON CAPITAL, LTD., and KONA CONCEPTS, INC.
file this motion seeking an extension to retain new local counsel and in support
states:
1. On November 8, 2023, this court ordered Defendants to retain local counsel
on or before December 8, 2023.
2. On November 21, 2023 pursuant to the November 8, 2023 order Defendants
filed a status report stating that hey have been diligent in interviewing local

counsel, however as of the date of this motion, they have not been able to
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retain local counsel and may not be able to do so by this Court’s deadline of
December 8, 20238.
3. Therefore, Defendants seek a two-week continuance from December 8, 2023
to December 22, 2023 to retain local counsel.
WHEREFORE, Movant respectfully requests that the Court enter an Order
granting this Motion for Extension of Time to from December 8, 2023 to December

22, 2023 to retain local counsel. A [Proposed] Order is attached.

Dated: November 30, 2023

Respectfully submitted,
/s/ John J. Muldoon, III

John J. Muldoon, III

Muldoon & Muldoon, LLC

PRO HAC VICE

IL Atty. No. 6185878

111 W. Washington Blvd., Suite 1500
Chicago, Illinois, 60602

312-739-3550

jjm@muldoonlaw.com
